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                               UNITED STATES BANKRUPTCY COURT
                                        District of Maryland
                                                 Baltimore Division
                                          101 West Lombard Street, Ste. 8530
                                               Baltimore, MD 21201

                        Case No.: 25−15437         Chapter: 7        Judge: Nancy V. Alquist

In Re: Debtor (names used by the debtor in the last 8 years, including married, maiden, trade, and address):

   Brandon Michael Chasen Sr
   13916 Green Branch Dr
   Phoenix, MD 21131
   Social Security No.: xxx−xx−2011
   Employer's Tax I.D. No.:

                        SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:

    A petition under title 11, United States Code was filed against you on 6/16/25 in this bankruptcy court, requesting
an order for relief under chapter 7 of the Bankruptcy Code (title 11 of the United States Code).

    YOU ARE SUMMONED and required to submit to the clerk of the bankruptcy court a motion or answer to the
petition within 21 days after the service of this summons. A copy of this petition is attached.

   Address of Clerk:
                        U.S. BANKRUPTCY COURT
                        Baltimore Division
                        101 West Lombard Street, Ste. 8530
                        Baltimore, MD 21201

At the same time you must also serve a copy of your motion or answer on petitioner or petitioner's attorney.

   Name and Address of Petitioner or Petitioner's Attorney:
                    Ferguson Enterprises, LLC
                    c/o Jill D. Caravaggio
                    5100 Buckeystown Pike, Suite 250
                    Frederick, MD 21704

                        Sandy Spring Bank
                        a Division of Atlantic Union Bank
                        c/o Jeffery Thomas Martin, Jr
                        8065 Leesburg Pike, Ste 750
                        Vienna, VA 22182

                        Southland Insulators of Maryland, Inc.
                        c/o Shawn C. Whittaker
                        1401 Rockville Pike, Ste 510
                        Rockville, MD 20852

If you make a motion, your time to serve an answer is governed by the Federal Rules of Bankruptcy Procedure,
1011(c).                                                                                   June 17th, 2025

If you failed to respond to this summons, the order for relief will be entered.


Dated: 6/17/25
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                                                      Mark A. Neal
                                                      Clerk of the Bankruptcy Court

Form suminv (rev. 12/2009)




                                                                                      June 17th, 2025
